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                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF GEORGIA
                          MACON DIVISION
ANNE KING,

       Plaintiff,

v.                                          Civil Action No. 5:17-cv-
                                            00024-MTT
COREY KING and TREY
BURGAMY, in their individual
and official capacities, and
WASHINGTON COUNTY,

       Defendants.

              PLAINTIFF’S SUPPLEMENTAL BRIEF


                             Introduction

      The Court has asked the parties to brief two issues:

      The Magistrate’s Role. Magistrate Ralph Todd said to Trey
      Burgamy, “Mr. Burgamy, if you will take the warrant for defama-
      tion of character, I’ll sign it.” Even if that were an order from the
      Magistrate—it’s really an option, not an order—Burgamy swore
      out an affidavit with false statements and gave it to the Magis-
      trate to sign. Does the Magistrate’s involvement absolve Bur-
      gamy of liability?

      The Qualified-Immunity Analysis. Under Eleventh Circuit
      precedent, Anne King need only show that Burgamy had fair
      warning that his actions were unconstitutional. Burgamy argues
      that she must show that “it was clearly established that an officer
      was required to refuse to sign an affidavit swearing that probable
      cause existed to arrest a person for violation of a law that has
      been held to be unconstitutional.” Is the qualified-immunity anal-
      ysis that rigid?
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      The Magistrate’s involvement does not absolve Burgamy of liabil-

ity. Fact issues exist about whether the Magistrate actually ordered

Burgamy to do anything. He remains liable even if the Magistrate or-

dered him to take the warrant because he swore out a false affidavit to

get the warrant.

      And the qualified-immunity analysis is not as rigid as Burgamy

claims. He need only have had “fair warning” that his actions were un-

constitutional. He had more than fair warning. After all, he helped his

buddy have his ex-wife arrested for a Facebook post. Every reasonable

officer should know that that violates federal law. Burgamy, too.


                              Argument

I.    Burgamy remains liable even if the Magistrate ordered
      him to sign the affidavit.

      To begin with, genuine disputes of fact exist about whether the

Magistrate actually ordered Burgamy to take a warrant. The record

shows that the Magistrate gave him an option—not an order. As Bur-

gamy put it, the Magistrate said, “‘Mr. Burgamy, if you will take the

warrant for defamation of character, I’ll sign it.’” Burgamy Dep. 22:15–




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17 (emphasis added). Inferring anything other than that Burgamy de-

cided to swear out an illegal warrant violates the summary-judgment

standard.1

      But even if the Magistrate had ordered Burgamy to sign an affi-

davit, that does not absolve him of liability. Qualified immunity does

not apply if an officer gets an arrest warrant based on false information.

See, e.g., Kelly v. Curtis, 21 F.3d 1544, 1554–55 (11th Cir. 1994). Take

Kelly, for example. The officer there, like Burgamy, swore out an affi-

davit with false statements. See Burgamy Dep. 32:10–12 (“Q … Were

you aware of a single fact that supported that order. A. No”). That pre-

cluded qualified immunity in Kelly. It does here, too.

      What’s more, Burgamy said that harassing phone calls was the

only “remotely close charge.” Id. 15:13–16. He knew, then, that criminal

defamation was not even “remotely close.” He thus didn’t “believe[] or

appropriately accept [his sworn statements] as true.” Kelly, 21 F.3d at


1 See, e.g., Skop v. City of Atlanta, 485 F.3d 1130, 1136 (11th Cir. 2007) (“In
making a qualified immunity determination, [the Court is] obliged to review
the facts in the light most favorable to [Ms. King].”); Kingsland v. City of Mi-
ami, 382 F.3d 1220, 1227 (11th Cir. 2004) (“[A]t the summary judgment state,
[the Court] must accept [Ms. King’s] version of the facts as true.”); Mize v.
Jefferson City Bd. of Educ., 93 F.3d 739, 742 (11th Cir. 1996) (“It is not the
court’s role to weigh conflicting evidence … ; [Ms. King’s] evidence is to be
accepted for purposes of summary judgment.”).




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1555 (quoting Franks v. Delaware, 438 U.S. 154, 165–66 (1978)). So un-

der Kelly, Burgamy does not have qualified immunity.

      Carter v. Gore also shows that Burgamy remains liable. See 557

F. App’x 904 (11th Cir. 2014). Even if a magistrate signed the warrant,

Burgamy “may be liable” because “‘a reasonably well-trained officer …

would have known that his affidavit failed to establish probable cause

and that he should not have applied for the warrant.’” Id. at 908 (quot-

ing Malley v. Briggs, 475 U.S. 335, 345 (1986)).

      That basis for liability applies even more strongly here than it did

in Carter. Three reasons bear this out. First, Burgamy swore out a false

affidavit accusing Ms. King of criminal defamation, which had not been

a crime for over three decades. By contrast, Carter involved a conclusory

affidavit about theft, which is still a crime. Second, Burgamy has ad-

mitted that he knew of no facts supporting a criminal-defamation

charge. Burgamy Dep. 32:10–12. Yet he swore that Ms. King “communi-

cate[d] false matter,” “ma[d]e derogatory and degrading comments,”

and intended to “provok[e] a breach of the peace.” See Warrant. Third,

Burgamy has admitted, in effect, that the charge was not even “re-

motely close.” Burgamy Dep. 15:13–16.

      If that weren’t enough, case law from courts across the country

confirms that Burgamy remains liable here. See, e.g., Malley, 475 U.S.

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at 346 n.9 (“The officer … cannot excuse his own default by pointing to

the greater incompetence of the magistrate.”); Graham v. Gagon, 831

F.3d 176, 183 (4th Cir. 2016) (“[A]n arresting officer is not automati-

cally immunized from suit merely because the officer successfully re-

quested an arrest warrant first.”); Golino v. City of New Haven, 950

F.2d 864, 871 (2d Cir. 1991) (“Where an officer knows, or has reason to

know, that he has materially misled a magistrate on the basis for find-

ing probable cause, … the shield of qualified immunity is lost”). Letting

Burgamy escape liability by blaming the Magistrate would expand

qualified immunity at the expense of the people and the Constitution.


II.    Burgamy had fair warning that his conduct was unconsti-
       tutional, and his actions were objectively unreasonable.

       Burgamy argues that the qualified-immunity issue here is

“whether it was clearly established that an officer was required to re-

fuse to sign an affidavit swearing that probable cause existed to arrest

a person for violation of a law that has been held to be unconstitu-

tional.” Minute Sheet, Doc. 42. But the qualified-immunity analysis is

not so demanding. See, e.g., Vaughan v. Cox, 343 F.3d 1323, 1332 (11th

Cir. 2003). In fact, the Supreme Court and the Eleventh Circuit have

rejected such a rigid approach: “[the Court] should not be unduly rigid



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in requiring factual similarity between prior cases and the case under

consideration.” Id. (applying Hope v. Pelzer, 536 U.S. 730 (2002)).

        The issue is whether Burgamy had “fair warning” that his con-

duct was unconstitutional. Id. (quoting Hope, 536 U.S. at 740). He did.

For one thing, cases such as Kelly and Carter make his conduct uncon-

stitutional. For another, any reasonable government official would

know that swearing out a false affidavit to have someone arrested for a

crime declared unconstitutional over three decades earlier violates fed-

eral law. See Vinyard v. Wilson, 311 F.3d 1340, 1350–51 (11th Cir.

2002). To be sure, obvious-clarity cases are rare. But it’s not every day

that officers conspire to have a buddy’s ex-wife arrested for a Facebook

post.

        In any event, Burgamy’s actions were not “objectively reasona-

ble,” which obviates qualified immunity. Harris v. Coweta Cnty., 21

F.3d 388, 390 (11th Cir. 1994) (citing Anderson v. Creighton, 483 U.S.

635, 641 (1987)). He had no facts supporting a charge that, in his words,

wasn’t even “remotely close.” Id. at 390–91 (citation omitted); Burgamy

Dep. 15:13–16, 32:10–12. So his actions were not “objectively reasona-

ble.” And thus he is not entitled to qualified immunity.




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 Dated: March 22, 2018         Respectfully submitted,

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                    CERTIFICATE OF SERVICE

      I certify that today I served all parties with the Plaintiff’s Supple-

mental Brief by filing it though the Court’s CM/ECF system, which will

automatically serve all counsel of record:

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